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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                              (Jointly Administered)
                          Debtors.
                                                              Hearing Date: January 19, 2021 at 10:00 a.m. (ET)
                                                              Objection Deadline: January 12, 2021 at 4:00 p.m. (ET)

           NOTICE OF THE DEBTORS’ MOTION FOR ENTRY OF AN ORDER
             (I) APPROVING GORDON SETTLEMENT AGREEMENT AND
     (II) MODIFYING THE AUTOMATIC STAY, TO THE EXTENT NECESSARY, TO
    PERMIT PAYMENT OF SETTLEMENT AMOUNT BY APPLICABLE INSURANCE

              PLEASE TAKE NOTICE that today, the above-captioned debtors and debtors in
possession (the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I) Approving
Gordon Settlement Agreement and (II) Modifying the Automatic Stay, to the Extent Necessary, to
Permit Payment of Settlement Amount by Applicable Insurance (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must
be (a) in writing; (b) filed with the Clerk of the Bankruptcy Court, 824 N. Market Street, 3rd
Floor, Wilmington, Delaware 19801, on or before January 12, 2021, at 4:00 p.m. (ET) (the
“Objection Deadline”); and (c) served so as to be received on or before the Objection Deadline
by the undersigned counsel to the Debtors.

               PLEASE TAKE FURTHER NOTICE THAT only objections made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

          PLEASE TAKE FURTHER NOTICE THAT A TELEPHONIC HEARING ON
THE MOTION WILL BE HELD ON JANUARY 19, 2021, AT 10:00 A.M. (ET) BEFORE
THE HONORABLE LAURIE SELBER SILVERSTEIN OF THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE.2

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Any party that wants to participate in the Hearing must make arrangements to do so through CourtCall by
telephone (866-582-6878) or facsimile (866-533-2946) by no later than January 19, 2021, at 9:00 a.m. (ET). If you
do not make timely arrangements, you may not be able to participate in the Hearing.
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Dated: December 29, 2020           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                  Andrew R. Remming (No. 5120)
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                                  – and –

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                                  – and –

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                                  Counsel for the Debtors and Debtors in Possession




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